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                                          EXHIBIT Q

                           CONFIDENTIAL
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December 20, 2023                                                                  Wendy J. Olson
                                                               101 S. Capitol Boulevard, Suite 1900
                                                                                  Boise, ID 83702
                                                                                   D. 208.387.4291
Ashley Guillard                                                            wendy.olson@stoel.com
3262 Westheimer Rd. #942
Houston, TX 77098
msashleyjt@gmail.com

Re:      Scofield v. Guillard, Case No. 3:22-cv-00521-REP

Dear Ms. Guillard:

        As you know, on June 20, 2023, we served on you Plaintiff’s First Set of Interrogatories,
Requests for Production of Documents, and Requests for Admission. The Court gave you an
extension of time until December 15, 2023, to respond to the Requests for Admission. The Court
did not address your failure to respond to the Interrogatories or Requests for Production of
Documents and did not provide any extension of time for you to do so.

        Under the Federal Rules of Civil Procedure, your responses to all of Plaintiff’s First Set
of Interrogatories, Requests for Production of Documents, and Requests for Admission were due
to us on Thursday, July 20, 2023. Thus, your responses to Plaintiff’s First Set of Interrogatories
and Requests for Production of Documents are now five months late, and you have waived all
objections. Please provide your responses no later than Friday, December 29, 2023.

Very truly yours,



Wendy J. Olson




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